
Mr. Justice Thacher
delivered the opinion of the court.
This was an indictment against the plaintiff in error, for knowingly suffering a gaming-table, called a faro-bank, to be exhibited in the house occupied by him.
The court below declined to instruct the jury to the effect, that if the accused had let the rooms of his house, in which the exhibition of the faro-bank is proved to have taken place, to certain persons, and that at the time when he let them he had no knowledge or expectation that they would be used for the purpose of such an exhibition, the jury must find for the defendant.
This charge, we think, was properly refused, for if the accused, *279after he had let the rooms in good faith, and without any knowledge of the unlawful purposes for which they would be used, knowingly permitted them to be occupied and .improved for such an exhibition, he would still be answerable under the statute. The tenants of the accused would be equally subject to the statute. Regina v. Pierson, 2 Ld. Raym. 1197.
In the other respects of this case, the evidence seems to warrant the finding of the jury, and upon close examination, the remaining assignments of error are not found to embrace anything that would warrant a reversal of the judgment.
Judgment affirmed.
